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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

ANDREW PERRONG, individually and on
behalf of a class of all persons and entities
similarly situated,

Plaintiff

Case No.

vs.
RUSHMORE ENERGY, LLC CLASS AC'I`ION COMPLAINT

Defendant.

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Preliminag Statement

l. Plaintiff Andrew Perrong (“Plaintift”), brings this action under the Telephone
Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to
widespread public outrage about the proliferation of intrusive, nuisance telemarketing practices.
See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

2. Rushmore Energy, LLC (“Rushmore Energy”) made a pre-recorded telemarketing
call to Mr. Pcrrong’s residential telephone number, which is prohibited by the TCPA. Mr.
Perrong’s telephone number is charged per call and making an automated and telemarketing call
to such a number is separately prohibited by the TCPA.

3. Mr. Perrong also alleges that the Defendants violated the Pennsylvania’s Unfair
Trade Practices and Consumer Protection Law, 73 P.S. § 201 -l et seq. (“UTPCPL”) due to their
violation of Pennsylvania’s Telemarketer Registration Act, 73 P.S. § 2241 et seq. (“P'I`RA”).

4. The Plaintiff never consented to receive the call, which was placed to him for

telemarketing purposes. Because telemarketing campaigns generally place calls to hundreds of

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thousands or even millions of potential customers en masse, the Plaintiff brings this action on
behalf of a proposed nationwide class of other persons who received illegal telemarketing calls
from or on behalf of Defendant.

5. A class action is the best means of obtaining redress for the Defendant’s wide
scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

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6. Plaintiff Andrew Perrong is a Pennsylvania resident, and a resident of this
District.

7. Defendant Rushmore Energy, LLC is a Texas limited liability company with its
principal place of business in Houston, TX. The Defendant has a Registered Agent of CT
Corporation, 116 Pine St., Suite 320 in l-Iarrisburg, PA 17101. Defendant engages in
telemarketing into the states which it is licensed to provide energy, including into this District, as
it did with the Plaintiff. The Defendant is also registered to do business into this District.

Jurisdiction & Venue

8. The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the
Plaintiff' s claims arise under federal law.

9. Rushmore regularly engages in business in this District, including makes
telemarketing calls into this District, and soliciting business from this District for its regionalized
energy programs. Furtherrnore, Rushmore provides Pennsylvania residents with services in this

District.

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10. Venue is proper under 28 U.S.C. § l39l(b)(2) because a substantial part of the
events or omissions giving rise to the claim occurred in this District, as the telemarketing calls to

the Plaintiff occurred in this District.

The Telephone Consumer Protection Act

11. In 1991 , Congress enacted the TCPA to regulate the explosive growth of the
telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .
can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991 , Pub. L.
No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits Automated Telemarketing Calls

12. The TCPA makes it unlawful “to make any call (other than a ca11 made for
emergency purposes or made with the prior express consent of the called party) using an
automatic telephone dialing system or an artificial or prerecorded voice to any telephone
number assigned to a cellular telephone service.” See 47 U.S.C. § 227(b)(l)(A)(iii). The
TCPA provides a private cause of action to persons who receive calls in violation of 47 U.S.C.

§ 227(b)(l)(A). See 47 U.S.C. § 227(b)(3).

l3. The TCPA also makes it unlawful “to initiate any telephone call to any residential
telephone line using an artificial or prerecorded voice to deliver a message without the prior
express consent of the called party.” See 47 U.S.C. § 227(b)(l)(B).

14. According to findings by the Federal Communication Commission (“FCC”), the
agency Congress vested with authority to issue regulations implementing the TCPA, such calls
are prohibited because, as Congress found, automated or prerecorded telephone calls are a
greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

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15. The FCC also recognized that “wireless customers are charged for incoming calls
whether they pay in advance or after the minutes are used.” In re Rules and Regulations
lmplementing the Tel. Consumer Prot. Ac! of 1 991 , CG Docket No. 02-278, Report and Order,
18 F.C.C. Rcd. 14014, 14115 1| 165 (2003).

16. In 2013, the FCC required prior express written consent for all autodialed or
prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.
Specifically, it ordered that:

[A] consumer’s written consent to receive telemarketing robocalls must be signed
and be sufficient to show that the consumer: (l) received “clear and conspicuous
disclosure” of the consequences of providing the requested consent, i.e., that the
consumer will receive future calls that deliver prerecorded messages by or on behalf
of a specific seller; and (2) having received this information, agrees unambiguously
to receive such calls at a telephone number the consumer designates.[] In addition,
the written agreement must be obtained “without requiring, directly or indirectly,
that the agreement be executed as a condition of purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1 991,
27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).

Pennsylvania’s Unfair 'I`rade Practices and
Consumer Protection Law and Pennsylvania’s Telemarketer Registration Act

17. Pennsylvania’s Telemarketer Registration Act, 73 P.S. § 2241 et seq. states:

No telemarketer shall take any action with the primary intent:

(l) to prevent the transmission of a telemarketer’s name or telephone number to

any recipient of a telephone solicitation call when the equipment or service used

by the telemarketer is capable of creating and transmitting the telemarketer’s

name or telephone number; or
73 Pa. Stat. Ann. § 2245.1.

18. The PTRA also provides, “[a] violation of this act is also a violation of the act of
December 17, 1968 (P.L.1224, No.387), known as the Unfair Trade Practices and Consumer
Protection Law.” 73 P.S. § 2241 .6(a).

19. In fact, the UTPCPL itself prohibits “any other fraudulent or deceptive conduct

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which creates a likelihood of confusion or of misunderstanding.” See 73 P.S. § 201-2(4)(xxi).
20. Of course, that’s exactly What manipulating a Caller ID does. lt obfuscates the
identity of the calling party to avoid accountability.
21. 'I`he PTRA also prohibits any ca11 to numbers on Pennsylvania’s Do Not Call list:
No telemarketer shall initiate or cause to be initiated a telephone solicitation call to
a residential telephone number of a residential telephone subscriber who does not
wish to receive telephone solicitation calls and has caused his name, address and
telephone number to be enrolled on a do-not-call- list maintained by the list
adrninistrator. This prohibition shall be effective 30 days after a quarterly do-not-
call list is issued by the list administrator which first contains a residential telephone

subscriber’s name, address and residential telephone number.

See 73 P.S. § 2245.2.
The Growing Problem of Automated Telemarketing

22. “Robocalls and telemarketing calls are currently the number one source of
consumer complaints at the FCC.” 'l`om Wheeler, Cutting OffRobocalls (July 22, 2016),
https://www.fcc.gov/news-events/blog/ZO16/07/22/cutting-robocalls (statement of FCC
chairman).

23. “The FTC receives more complaints about unwanted calls than all other
complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer
Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016),

https://Www.ftc.gov/system/files/documents/advocacy documents/commentstaff-ftc-bureau-
consumer-protection-federal-communications-commission-

rulesregulations/l 6061 6robocallscomment.pdf.

24. In fiscal year 2017, the FTC received 4,501,967 complaints about robocalls,

compared with 3,401,614 in 2016. Federal Trade Commission, FTC Releases FY 201 7 Natz'onal

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Do Not Call Registry Data Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-

events/ ress-releases/ZOI7/12/ftc-releases- -2017-nationaldo-not-call-re ist -data-book-dnc.

 

25. The New York Times recently reported on the skyrocketing number of robocall
complaints and widespread outrage about illegal telemarketing Tara Siegel Bernard, Yes, It’s
Bad. Robocalls, and T heir Scams, Are Surging, N.Y. Times (May 6, 2018),
https://www.nytirnes.com/ZOI 8/05/06/your~money/robocalls-riseillegal.html; see also Katherine
Bindley, Why Are T here So Many Robocalls? Here ’s What You Can Do About Them, Wall St. J.
(July 4, 2018), httDs://www.wsi.com/articles/whv-there-are-so-manvrobocalls-heres-what-vou-
can-do-about-them- 1 53061 0203.

26. Even more recently, a technology provider combating robocalls warned that
nearly half of all calls to cell phones next year will be fraudulent Press Release, First Orion,
Nearly 50% of U.S. Mobile Traffic Will Be Scam Calls by 2019 (Sept. 12, 2018),

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s://www. mewswire.com/news-releases/nearl -50-of-us-mobile-traflic-Will-be-scarn-calls-

       

by-2019~30071 1028.html

Rushmore’s Illegal Telemarketing

27. Rushmore is an electric generation supplier that attempts to sell their services to
residents of Ohio and Pennsylvania

28. Rushmore uses telemarketing to promote its products.

29. Rushmore’s telemarketing efforts include the use of pre-recorded messages to
send telemarketing calls.

30. Recipients of these calls, including Plaintiff, did not consent to receive them.

31. The Defendant used this equipment because it allows for thousands of automated

calls to be placed at one time, but its telemarketing representatives, who are paid by the hour,

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only talk to individuals who pick up the telephone or respond to the text contact through a
telephone call.

32. Through this method, the Defendant shifts the burden of wasted time to the
consumers it calls with unsolicited messages

The Call to Mr. Perrong
33. Plaintiff Perrong is a “person” as defined by 47 U.S.C. § 153(39).

34. Plaintiff’s telephone number is (215) 33 8-XXXX.

35. The Plaintiff is charged for each call placed to that number.

36. Rushmore Energy placed a telemarketing call to Plaintist number on March 5,
2019.

37. A pre-recorded message was then played.

38. The use of a pre-recorded message is a consistent with the use of an ATDS, as it
would be illogical to manually call numbers only to then play a pre-recorded message.

39. The Caller ID Number was (267) 587-1097.

40. The Defendant is not located in Pennsylvania

41. lnstead, the Defendant used a local Caller ID number

42. 'l`he local Caller ID number was used to mislead call recipients into believing the
call was local, so there would be a better chance that they would answer. This is also consistent
With the use of an ATDS.

43. The company was not identified in the pre-recorded message, so the Plaintiff
responded to speak with a live individual.

44. The Plaintiff was able to identify Rushmore Energy by feigning interest in the

generic energy savings telemarketing pitch that Was made on the call.

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45. The Plaintiff further identified Rushmore because of a letter they sent to him as a

result of the call.
Common Allegations

46. A number of individuals have complained about energy telemarketing calls from
Rushmore:

Now its [sic] a telescammer called Rushmore Energy with [***] in the call ctr. Corporate

located at 3 Sugar Creek Center Boulevard, Ste 100 or 186,Sugarland, TX 77478. CALL

800-590-7295, 281-494-3453. Managing member, Rahil Jafry. Other address P O. BOX

2640, SUGARLAND, TX, 77478....211 E. 7th St, Ste. 620, Austin, TX, 78701

Caller: RUSHMORE ENERGY

Call type.‘ Telemarkeler

See ht_tp://SOOnotes.com/Phone.aspx/1-508-523-6101 (Last Visited March 5, 2019).

Rushmore Energy telemarketing

Call lype.' Telemarketer

Telemarketer for electric services.
Caller: Rushmore Servies [sic]
Call type: Telemarketer

See hgp://800notes.com/Phone.aspx/ 1-215-383-3376 (Last Visited March 5, 2019).

'I`hey call and hang up, so that you will call back..."['hey record the conversation w/o

permission This is illegal in PA 18 Pa. Cons. Stat. § 5703. Employees are RUDE. hung up
on multiple times

Caller.' Rushmore Energy
Call type.' Telemarketer

See httt)://800notes.com/Phone.aspx/l-717-409-l070 (Last Visited March 5, 2019).

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47. ln fact, individuals have complained about getting calls from the same Caller ID
that called the Plaintiff:
Continuously calls and leaves no message

https://whocallsme.com/Phone-Number.aspx/2675 871097 (Last Visited March 9, 2019).
(267) 587-1097 is a Utility Scam

hgps://www.nomorobo.com/lookup/267-587-1097(Last Visited March 9, 2019).

48. To the extent Rushmore contends that it obtained consent or agreement from
Plaintiff and the class members for the calls at issue here, the Telemarketing Sales Rule, 16
C.F.R. § 310.5(a)(5), requires that such records be maintained

49. In any event, consent is an affirmative defense under the TCPA, and is
unavailable unless Rushmore can show that it had prior express consent in writing, and that it has
otherwise complied with all of the requirements of 47 C.F.R. § 64.1200(0)(2), including
maintaining written procedures on national do~not-call rules, training personnel on national do-
not-call rules, maintaining an internal do-not~call list, and accessing the national do-not-call
database no more than 31 days prior to making any calls, and maintaining records documenting
such access.

50. Plaintiff and the other call recipients were harmed by these calls. They were
temporarily deprived of legitimate use of their phones because the phone line was tied up during
the telemarketing calls and their privacy was improperly invaded. Moreover, these calls injured
Plaintiff and the other call recipients because they were frustrating, obnoxious, annoying, were a

nuisance and disturbed the solitude of plaintiff and the class.

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Class Action Statement
51. As authorized by Rule 23(b)(2) and/or 23(b)(3) of the Federal Rules of Civil
Procedure, Plaintiff brings this action on behalf of all other persons or entities similarly situated
throughout the United States.

52. The classes of persons Plaintiff propose to represent include:

Automated Telemarketing Call Class

All persons within the United States: (a) to whom Defendant and/or a third party
acting on Defendant’s behalf, made one or more non-emergency telephone calls;
(b) to a cellular telephone number or to a number where the recipient is charged for
the call; (c) using an automatic telephone dialing system or an artificial or
prerecorded voice; and (d) at any time in the period that begins four years before
the date of filing this Complaint to trial.

Pre-Recorded Telemarketing Call to Residential Line Class

All persons within the United States: (a) to whom Defendant and/or a third party
acting on Defendant’s behalf, made one or more non-emergency telephone calls;
(b) promoting Defendant’s products or services; (c) to a residential telephone
number; (d) using an artificial or prerecorded voice; and (e) at any time in the period
that begins four years before the date of the filing of this Complaint to trial.

UTPCPL CLASS:

All Commonwealth of Pennsylvania residents (a) to whom Defendants and/or a

third party acting on their behalf`, made one or more telephone calls; (b)

manipulating the Caller ID number or to a residential number enrolled on the

Commonwealth of Pennsylvania’s do-not-call- list maintained by the list

administrator; (c) at any time in the period that begins six years before the date of

filing this Complaint through the date of class certification

53. Excluded from the class are the Defendant, any entities in which the Defendant
has a controlling interest, the Defendant’s agents and employees, any Judge to whom this action
is assigned, and any member of the Judge’s staff and immediate family.

54. The proposed class members are identifiable through phone records and phone

number databases.

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55 . The potential class members number in the thousands, at least. Individual joinder
of these persons is impracticable

56. Plaintiff is a member of the proposed classes.

57. There are questions of law and fact common to Plaintiff and to the proposed
classes, including but not limited to the following:

a. Whether Rushmore used pre-recorded messages to make the calls at issue;

b. Whether Rushmore placed telemarketing calls without obtaining the
recipients’ valid prior express written consent;

c. Whether Rushmore manipulated the Caller lD to send telemarketing calls;

d. Whether Rushmore’s violations of the TCPA were negligent, willful, or
knowing; and

e. Whether the Plaintiff and the class members are entitled to statutory
damages because of Rushmore’s actions.

58. Plaintiff’s claims are based on the same facts and legal theories as the claims of
all class members, and therefore are typical of the claims of class members, as the Plaintiff and
class members all received telephone calls through the same automated telemarketing process.

59. Plaintiff is an adequate representative of the class because his interests do not
conflict with the interests of the classes, he Will fairly and adequately protect the interests of the
classes, and he is represented by counsel skilled and experienced in class actions, including
TCPA class actions.

60. Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

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adjudication of the controversy. The only individual question concerns identification of class
members, which will be ascertainable from records maintained by Rushmore and/or its agents.
61. The likelihood that individual class members will prosecute separate actions is
remote due to the time and expense necessary to prosecute an individual case, and given the small
recoveries available through individual actions.
62. Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.

Legal Claims

Count One:
Violations of the TCPA, 47 U.S.C. § 227(b)

63. Plaintiff incorporates the allegations from all previous paragraphs as if fully set
forth herein.

64. The foregoing acts and omissions of Rushmore and/or its affiliates, agents, and/or
other persons or entities acting on Rushmore’s behalf constitute numerous and multiple
violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, with
a pre-recorded message to the residential telephone line of the Plaintiff and to a number for
which the party is charged for the call.

65. The foregoing acts and omissions of Rushmore and/or its affiliates, agents, and/or
other persons or entities acting on Rushmore’s behalf constitute numerous and multiple
violations of the TCPA, 47 U.S.C. § 2277 by making calls, except for emergency purposes, with
a pre-recorded message to a telephone number of the Plaintiff where he was charged for the call.

66. As a result of Rushrnore’s and/or its affiliates, agents, and/or other persons or

entities acting on Rushmore’s behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

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members of the Class presumptively are entitled to an award of $500 in damages for each and
every call made.

67. Plaintiff and members of the Class are also entitled to and do seek injunctive
relief prohibiting Rushmore and/or its affiliates, agents, and/or other persons or entities acting on
Rushmore’s behalf from making calls, except for emergency purposes, to any residential number
using an artificial or prerecorded voice in the future.

68. The Defendant’s violations were negligent, willful, or knowing.

Count 'l`wo:
Violation of the UTPCPL

69. Plaintiff incorporates the allegations from all previous paragraphs as if fully set
forth herein.

70. A violation of the PTRA is an automatic violation of the UTPCPL.

71. The Defendant violated the PTRA with respect to the call to Mr. Perrong because
they used technology that made their Caller ID number a non-working number that appeared to
the recipient as if the call was coming from Pennsylvania

72. The Defendant also violated the PTRA by calling Mr. Perrong’s residential
number, which was on the Pennsylvania Do Not Call List.

73. The Defendant may have further violated the PTRA, which can be identified
through discovery. For example the PTRA provides, “it shall be unlawful for any telemarketer to
initiate a telephone call to or receive a telephone call from a consumer in connection with the
purchase of consumer goods or services, unless the telemarketer or the telemarketing business
which employs the telemarketer is registered with the Office of Attomey General. .. at least 30

days prior to offering for sale consumer goods or services through any medium.” 73 P.S. § 2241

§ 3(a)-(b).

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74. The Plaintiff Perrong seeks statutory damages of 3100 for each violation of the

UTPCPL

Relief` Sought
For himself and all class members, Plaintiff requests the following relief:

A. Certification of the proposed Classes;

B. Appointment of Plaintiff as representative of the Classes;
C. Appointment of the undersigned counsel as counsel for the Classes;
D. A declaration that Defendant and!or its affiliates, agents, andfor other related

entities’ actions complained of herein violate the TCPA;
E. An order enjoining Defendant andr'or its affiliates, agents, andfor other persons or
entities acting on Defendant’s behalf from making calls, except for emergency purposes, to any

residential number using an artificial or prerecorded voice in the future.

F. An award to Plaintiff and the Classes of damages, as allowed by law;

G. Leave to amend this Complaint to conform to the evidence presented at trial; and

H. Orders granting such other and further relief as the Court deems necessary, just,
and proper.

Plaintiff request a jury trial as to all claims of the complaint so triable.

Plaintiff, \
By Counsel,

By: /s/ Cfavton S. Morrow

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Clayton S. Morrow

Email: csm@consumerlaw365.com
Morrow & Artim, PC

304 Ross Street, 7th Floor
Pittsburgh, PA 15219

Telephone: (412) 281-1250

Dated: March 27, 2019

